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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

MELISSA BEARD,

 Plaintiff,

-vs-                                               CASE NO.: 5:15-cv-00561-JSM-PRL

FORTIVA FINANCIAL, LLC
and ATLANTICUS HOLDINGS
CORPORATION,

 Defendants.
                                          /

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW the Plaintiff, Melissa Beard, and the Defendants, Fortiva Financial, LLC

and Atlanticus Holdings Corporation, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendants in the above styled action, with Plaintiff and Defendants to bear their own attorney’s

fees, costs and expenses.

       Respectfully submitted this 13th day of December, 2016.

/s/Octavio Gomez, Esquire                          s/Emily Y. Rottmann
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